111 F.3d 137w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Tarek Mohammed ABDEL-RAZEK, a.k.a. Parek MohammedAbdelrazer, Petitioner,v.IMMIGRATION AND NATURALIZATION SERVICE, Respondent.
    No. 95-70395.
    United States Court of Appeals, Ninth Circuit.
    Submitted Nov. 7, 1996.*Decided April 16, 1997.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    